        Case 5:10-cr-50118-JLV                        Document 605       Filed 01/09/12                 Page 1 of 6 PageID #: 1480
~AO 245B   (Rev. 12/03) Judgment in a Criminal Case
           Sheet I


                                         UNITED STATES DISTRICT COURT
                                              District of South Dakota, Western Division
                                                                                                                              FILED
        UNITED STATES OF AMERlCA                                       JUDGMENT IN A CRIMINAL CASE
                             VS.                                                                                              JAN U9 2012

                                                                                                                              ~
                                                                       Case Number: 5:10CRSOl18-13
                     ROBERT GAY
                                                                       USM Number: 10602-073


                                                                       Dana Hanna
                                                                       Defendant's Attorney
THE DEFENDANT:
•     pleaded guilty to count(s) I of the Superseding Indictment
o     pleaded nolo contendere to count(s) which was accepted by the court.

o     was found guilty on count(s) after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                    Nature of Offense                                                        Offense Ended      Count
21 U.S.c. §§ 846, 841(a)(I),       Conspiracy to Distribute a Controlled Substance                          01119/2011         Is
and 841 (b)(1 )(A)




The defendant is sentenced as provided in this judgment. The sentence is imposed pursuant the statutOI)' and constitutional authority vested
in this court.


o     The defendant has been found not guilty on count(s)
•     Count(s) 19 of the Superseding Indictment as it relates to the defendant is dismissed on the motion of the United States.

IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any change of name, residence, or
mailing address until aU fines, restitution, costs, and special assessments Imposed by this judgment are fully paId. If ordered to pay restitution,
the defendant must notify the court and United States attorney of any matenal changes in economic circumstances.



                                                                       0110412012
                                                                       Date of Imposition of Judgment




                                                                 CS~T--'                                -            -               -



                                                                       Jeffrey L. Viken, United States District Judge
                                                                       Name and Title of Judge
          Case 5:10-cr-50118-JLV                       Document 605         Filed 01/09/12             Page 2 of 6 PageID #: 1481
AO 245B       (Rev. 12/03) Judgment in Criminal Case
              Sheet 2 - Imprisonment
                                                                                                                               Judgment - Page _2_ of_6_
DEFENDANT:               ROBERT GAY
CASE NUMBER:             5:10CR50118-13


                                                                IMPRISONMENT

•         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
          120 months.



•         The court makes the following recommendations to the Bureau of Prisons:
          The defendant's history of substance abuse indicates he would be an excellent candidate for the Bureau of Prisons' substance abuse
          program under 18 U.S.c. § 3621(e). It is recommended the defendant be allowed to participate in that program.



•         The defendant is remanded to the custody of the United States Marshal.

o         The defendant shall surrender to the United States Marshal for this district:
          o        at                                       Oa.m.        Op.m. on
          o        as notified by the United States Marshal.

o         The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o        before 2 p.m.
          o        as notified by the United States Marshal.
          o        as notified by the Probation or Pretrial Services Offices.

                                                                     RETURN
I have executed this judgment as follows:




          Defendant delivered on                _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ to

at   _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _" with a certified copy of this judgment.


                                                                                                         UNITED STATES MARSHAL



                                                                                 By------::=-:=:-:-:-::-:-::=-:::=-:-=:-::-:"":"':'":=:-7"':"        _
                                                                                                    DEPUTY UNITED STATES MARSHAL
           Case 5:10-cr-50118-JLV                        Document 605        Filed 01/09/12            Page 3 of 6 PageID #: 1482
AO 245B       (Rev. 12/03) Judgment in a Criminal Case
              Sheet 3 - Supervised Release
                                                                                                                            Judgment- Page _3_ of_6_
DEFENDANT:                ROBERT GAY
CASE NUMBER:              5:10CRSOl18-13

                                                             SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of: 5 years.




The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the custody
of the Bureau of Prisons.
The defendant shall not commit another federal, state, local, or tribal crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the probation office.                                                    .
o          The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
           substance abuse. (Check, if applicable.)
•          The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)
•          The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
o          The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
           student, as directed by the probation officer. (Check, if applicable.)
o          The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
           If this judgJ!lent imposes a fUle or a restitution, it is a condition of supervised release that the defendant pay in accordance with the
           Schedule of Payments sheet of this judgment.
           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
           on the attached page.

                                                  STANDARD CONDITIONS OF SUPERVISION

      1)   the defendant shall not leave the judicial district without the permission of the court or probation officer;
      2)   the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
      3)   the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
      4)   the defendant shall support his or her dependents and meet other family responsibilities;
      5)   the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
      6)   the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
      7)   the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
      8)   the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
      9)   the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so by the probation officer;
    10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observea in plain view of the probation officer;
    11 )   the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
    12)    the d~f~ndant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permtSSIOn of the court;
    13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
           criminal record or personal history or characteristics and shaIl permtt the probation officer to make such notifications and to confirm
           the defendant's compliance with such notification requirement.
          Case 5:10-cr-50118-JLV                       Document 605   Filed 01/09/12   Page 4 of 6 PageID #: 1483
AO 245B     (Rev. 12/03) Judgment in a Criminal Case
            Sheet 3C - Supervised Release
                                                                                                      Judgment - Page _4_ of_6_
DEFENDANT:                ROBERT GAY
CASE NUMBER:              5:10CR50118-13

                                                  SPECIAL CONDITIONS OF SUPERVISION



1.        The defendant shall not consume any alcoholic beverages or intoxicants. Furthermore, the defendant shall not
          frequent establislunents whose primary business is the sale of alcoholic beverages.
2.        The defendant shall participate in a program approved by and at the direction of the probation office for
          treatment of substance abuse.                                                          .
3.        The defendant shall submit a sample of his blood, breath, or urine at the discretion or upon the request of the
          probation office.
4.        The defendant shall submit to a warrantless search of hislher person, residence, place of business, or vehicle,
          at the discretion of the probation office.
5.        The defendant shall participate in and complete a cognitive behavioral training program as directed by the
          probation office.
6.        The defendant shall reside and participate in a residential reentry center as directed by the probation office.
          The defendant shall be classified as a prerelease case.
7.        While under supervision in the District of South Dakota, the defendant shall participate in the DROPS
          program as directed by the probation office.
8.        The defendant shall, at the discretion of the probation office, participate meaningfully in the U.S. Probation
          Office's Community Service Project while not gainfully employed, a full-time student, or otherwise
          productively occupied.
          Case 5:10-cr-50118-JLV                        Document 605         Filed 01/09/12            Page 5 of 6 PageID #: 1484
AO 245B      (Rev. 12103) Judgment in a Criminal Case
             Sheet 5 - Criminal Monetary Penalties
                                                                                                                             Judgment - Page _5_ of_6_
DEFENDANT:               ROBERT GAY
CASE NUMBER:             5:10CRSOl18-13
                                                        CRIMINAL MONETARY PENALTIES

The defendant shall pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.

                         Assessment                                     Fine                                   Restitution
TOTALS               $   100.00                                     $   waived                             $


o         The determination of restitution is deferred until.
          An Amended Judgment in a Criminal Case (AO 245C) will be entered after such determination.

o         The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

          If the defendant makes a partial payment, each payee shall receive an approximatelY_Rroportioned payment, unless sFecified otherwise
          in the priority order or percentage payment column below. However, pursuant to 18 U .S.C. § 3664(i), all nonfederal victims must be paid
          before the United States is paid".

                                                                                                                                      Priority Or
Name of Payee                                                                  Total Loss*             Restitution Ordered            Percentage




TOTALS                                                                   $   -------$-------

o     Restitution amount ordered pursuant to plea agreement $

o     The defendant must pay interest on restitution and a fme of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.c. § 3612(t). All of the payment options on Sheet 6 may be
      subject to penalties for delinquency and default, pursuant to 18 U.S.c. § 3612(g).

o     The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

       o       the interest requirement is waived for the           o fine            o restitution.
       o       the interest requirement for the            o fine         o      restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994 but before April 23, 1996.
           Case 5:10-cr-50118-JLV                            Document 605                Filed 01/09/12         Page 6 of 6 PageID #: 1485
AO 245B     (Rev. 12/03) Judgment in a Criminal Case
            Sheet 6 - Schedule of Payments
                                                                                                                                 Judgment - Page _6_ of_6_
DEFENDANT:                ROBERT GAY
CASE NUMBER:              5:10CRSOI18-l3

                                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A
      •       Lump sum payment of$ .:,10.: .;O: ...::.;OO::...-
                                                 :,                        due inunediately.

              o      not later                                                    , or
              o      in accordance           0      C,            0   D,      0      E, or     o F below); or
B     o       Payment to begin inunediately (may be combined with                        0     C,   o D,        o F below); or
c     o       Payment in equal foeekl~O(e.g., weekly, monthly, quarterly) installments of $ over a period of (e.g., months or years), to
              conunence (e.g.,    or     days) after the date of this judgment; or

D      o      Payment in equal foeekl~O (e.g., weekly! monthly, or quarterly) installments of $ over a period of (e.g., months or years), to
              conunence (e.g.,    or    days) after re ease from imprisonment to a term of supervision; or

E      o      Payment of the criminal monetary penalties shall be due in regular quarterly installments of of the deposits in the defendant's
              inmate trust account while the defendant is in custody. Any portion of the monetary obligation(s) not paid in full prior to the
              defendant's release from custody shall be due in monthly installments of, such payments to begin, days following the
              defendant's release; or

F      o      Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All cnminal monetary penalties, except those payments made through the Federal Bureau of Pnsons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.


o      Joint and Several

       Defendant and Co-Defendant Names and Case Number (including defendant number), Total Amount, Joint and Several Amount, and
       corresponding payee, if appropriate.




o      The defendant shall pay the cost of prosecution.

o      The defendant shall pay the following court cost(s):

o      The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) conununity restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs
